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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-CV-22538-ALTMAN/REID


  PIERCE ROBERTSON, et al.,

                Plaintiffs,
  v.


  MARK CUBAN, et al.,
                Defendants.
  _________________________________/

            DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL
          THE UNREDACTED VERSIONS OF THEIR MOTION TO TRANSFER
         VENUE AND TWO DECLARATIONS IN SUPPORT THEREOF BECAUSE
          THEY CONTAIN REFERENCES TO CONFIDENTIAL INFORMATION

         Defendants MARK CUBAN and DALLAS BASKETBALL LIMITED d/b/a DALLAS

  MAVERICKS, by and through undersigned counsel and pursuant to Southern District of Florida

  Local Rule 5.4(b)(1), file this Motion for Leave to File Under Seal the Unredacted Versions of

  Their Motion to Transfer Venue and Two Declarations in Support Thereof Because they Contain

  References to Confidential Information (hereinafter “Motion to Seal”). As grounds therefor,

  Defendants state as follows:

         1.     Contemporaneously herewith, Defendants will be filing a Motion to Transfer

  Venue to the Northern District of Texas and Memorandum of Law in Support Thereof (the

  “Motion to Transfer”). The Motion to Transfer and the Declarations of Sigmund Wissner-Gross,

  Esq., and Ryan Mackey, also filed contemporaneously in support of that Motion via notices of

  filing, contain references to information that has been designated by either side as Confidential
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  under the Stipulated Protective Order entered by Magistrate Judge Reid on December 21, 2022.

  [ECF No. 65].1

         2.      The Motion to Transfer and Declarations have consequently, for filing purposes,

  redacted the information the parties’ designated as Confidential and that is covered by the

  Stipulated Protective Order. See S.D. Fla. L.R. 5.4(b)(1); S.D. Fla. CM/ECF Rule 9B.

         3.      The at-issue protected as Confidential information consists of certain testimony

  taken at the depositions of two named Plaintiffs (Rachel Gold and Pierce Robertson), other

  account information regarding the Plaintiffs designated as Confidential, and certain Confidential

  information regarding the Mavericks. For example, the Declaration of Sigmund Wissner-Gross

  attaches Confidential documents produced by Voyager Digital Ltd. containing the Plaintiffs’

  Voyager account information, their addresses, and the last four digits of their social security

  numbers. Mr. Wissner-Gross’s Declaration also attaches as an exhibit excerpts from an

  agreement between Voyager Digital Ltd. and Dallas Basketball Limited, which was designated as

  Confidential because the agreement contains a confidentiality clause prohibiting the agreement’s

  public distribution.

         4.      While the redactions are fairly limited and most of the Motion to Transfer and

  Declarations will not be redacted, Defendants seek permission to file unredacted versions of the

  Motion to Transfer and the two attached Declarations under seal so that this Court is fully




         1Various documents, or portions thereof, produced to date have been designated as
  Confidential.


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  informed and has before it all relevant Confidential information prior to ruling on Defendants’

  Motion to Transfer.2

         5.      The proposed duration of the requested sealing is for/until the later of (i) the

  parties consenting to unsealing of the information designated as Confidential, (ii) an unsealing of

  any of the information designated as Confidential pursuant to the terms of the Stipulated

  Protective Order.

         6.      Local Rule 5.4(b)(1) states that a party who wants to file documents and

  information under seal must file and serve electronically a motion seeking permission to file

  under seal. Such a motion must set forth the factual and legal basis for the requested sealing and

  describe with as much particularity as possible the documents and information to be sealed . See

  S.D. Fla. L.R. 5.4(b)(1).3

         7.      Where, as here, a party files a motion and other legal documents that need to

  include references to protected confidential information and those filings are the subject of a

  Local Rule 5.4(b)(1) motion to file under seal, all of the content sought to be filed under seal

  must be redacted until the Court has an opportunity to rule on the motion to seal. See S.D. Fla.

  L.R. 5.4(b)(1); S.D. Fla. CM/ECF Rule 9B.




         2Pursuant to Paragraphs 6(e) and 7(d) of the Stipulated Protective Order, the “Court and
  any Court staff and administrative personnel” may view material designated as Confidential and
  Highly Confidential. [ECF No. 65: pp. 7-9].

         3 However, a motion to file under seal cannot attach or reveal the specific “content of the
  proposed sealed material.” Id. Additionally, the material to be sealed “shall not be filed unless
  the Court grants the motion to file under seal.” Id; see S.D. Fla. CM/ECF Rule 9A (“The
  proposed sealed material shall not be filed unless the Court grants the motion to file under
  seal.”).


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         8.      Defendants’ instant Motion to Seal, the redacted Motion to Transfer and its

  supporting redacted Declarations are all in full compliance with Local Rule 5.4(b)(1) and

  CM/ECF Rule 9B.

         WHEREFORE, Defendants MARK CUBAN and DALLAS BASKETBALL LIMITED

  d/b/a DALLAS MAVERICKS respectfully request that the Court grant this Motion for Leave to

  File Under Seal and permit Defendants to file under seal the unredacted versions of their Motion

  to Transfer Venue and the two Declarations filed in support thereof.

                      CERTIFICATE OF GOOD-FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the

  movants/Defendants have today conferred via ZOOM videoconference with Plaintiffs’ counsel in

  a good faith effort to resolve the issues raised in this Motion for Leave to File Under Seal but

  have been unable to resolve those issues.

                                                        Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 31, 2023, the foregoing document was

  electronically filed with the Clerk of the Court using CM/ECF. I ALSO CERTIFY that the

  foregoing document is being served this day on all counsel of record on the attached Service List

  in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.




                                                        /s/ Christopher E. Knight
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